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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         Case No. A17-50323-JRS
         KRISTIE JACKSON STARGELL

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Nancy Whaley, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/05/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was converted on 04/07/2017.

         6) Number of months from filing to last payment: 3.

         7) Number of months case was pending: 4.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $31,445.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor                $3,936.00
           Less amount refunded to debtor                          $1,333.23

NET RECEIPTS:                                                                                      $2,602.77


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $2,000.00
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                           $227.77
    Other                                                                       $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $2,227.77

Attorney fees paid and disclosed by debtor:                         $0.00


Scheduled Creditors:
Creditor                                            Claim        Claim          Claim      Principal     Int.
Name                                  Class       Scheduled     Asserted       Allowed       Paid        Paid
1ST FRANKLIN FINANCIAL CORPORATUnsecured
                                   ION               1,695.00      857.44         857.44         0.00      0.00
CAPIT AL ONE AUT O FINANCE     Secured              18,000.00   22,989.57      22,989.57       300.00      0.00
DISCOVER BANK                  Unsecured             1,000.00    1,146.95       1,146.95         0.00      0.00
FORT IVA                       Unsecured             2,600.00    3,485.06       3,485.06         0.00      0.00
MERRICK BANK                   Unsecured               350.00      737.09         737.09         0.00      0.00
ONEMAIN FINANCIAL SERVICES, INC.Secured              2,800.00    3,053.68       3,053.68         0.00      0.00
PINNACLE CREDIT UNION          Secured               1,800.00    2,040.07       2,040.07        75.00      0.00
PINNACLE CREDIT UNION          Unsecured                  NA       852.22         852.22         0.00      0.00
PINNACLE CREDIT UNION          Unsecured                  NA     1,629.04       1,629.04         0.00      0.00
REPUBLIC FINANCE, LLC          Unsecured             1,100.00    2,471.88       2,471.88         0.00      0.00
SYNCHRONY BANK                 Unsecured             3,000.00         NA             NA          0.00      0.00
SYNCHRONY BANK                 Unsecured             3,000.00         NA             NA          0.00      0.00
SYNCHRONY BANK                 Unsecured             2,000.00         NA             NA          0.00      0.00
SYNCHRONY BANK/BRANDSMART Unsecured                  3,200.00         NA             NA          0.00      0.00
T D BANKUSA/T ARGET            Unsecured             2,500.00         NA             NA          0.00      0.00
T HE HOME DEPOT /CBNA          Unsecured               940.00         NA             NA          0.00      0.00
BANK OF AMERICA NA             Unsecured             3,700.00         NA             NA          0.00      0.00
BASIX                          Unsecured             3,933.00         NA             NA          0.00      0.00
CAPIT AL ONE BANK (USA) NA     Unsecured               600.00         NA             NA          0.00      0.00
CHILDRENS HEALT HCARE OF AT LANT
                               Unsecured
                                   A                   460.00         NA             NA          0.00      0.00
DIXIE FINANCE COMPANY INC      Unsecured             2,940.00         NA             NA          0.00      0.00
CALIBER HOME LOANS             Secured             237,800.00         NA             NA          0.00      0.00
ROOMS T O GO                   Secured                 412.00         NA             NA          0.00      0.00
PREMIER BANKCARD/CHART ER      Unsecured               350.00         NA             NA          0.00      0.00
ST ERLING FINANCE CO           Unsecured                  NA     2,388.00       2,388.00         0.00      0.00
W.S. BADCOCK CORPORAT ION      Secured               2,100.00    1,650.34       1,650.34         0.00      0.00




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 Summary of Disbursements to Creditors:
                                                                   Claim        Principal        Interest
                                                                Allowed             Paid            Paid
 Secured Payments:
       Mortgage Ongoing                                           $0.00           $0.00            $0.00
       Mortgage Arrearage                                         $0.00           $0.00            $0.00
       Debt Secured by Vehicle                               $25,029.64         $375.00            $0.00
       All Other Secured                                      $4,704.02           $0.00            $0.00
 TOTAL SECURED:                                              $29,733.66         $375.00            $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                $0.00             $0.00         $0.00
         Domestic Support Ongoing                                  $0.00             $0.00         $0.00
         All Other Priority                                        $0.00             $0.00         $0.00
 TOTAL PRIORITY:                                                   $0.00             $0.00         $0.00

 GENERAL UNSECURED PAYMENTS:                                 $13,567.68              $0.00         $0.00

 Disbursements:

          Expenses of Administration                               $2,227.77
          Disbursements to Creditors                                 $375.00

 TOTAL DISBURSEMENTS :                                                                       $2,602.77


        12) The trustee certifies that the foregoing summary is true and complete and all administrative
matters for which the trustee is responsible have been completed. The trustee requests that the trustee
be discharged and granted such relief as may be just and proper.

Dated: 05/02/2017                                   By: /s/ Nancy Whaley
                                                                           Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                    CERTIFICATE OF SERVICE


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This is to certify that I have this day served the following with a copy of the foregoing Trustee's Final
Report by depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.

Debtor(s):
KRISTIE JACKSON STARGELL
217 SAINT MARTINS LANE SE
MABLETON, GA 30216



By Consent of the parties, the following have received an electronic copy of the foregoing Trustee's
Final Report through the Court's Electronic Case Filing system.

Attorney for the Debtor(s):
HAMMOND & HAMMOND, PC
allenhammond@mindspring.com




This the 2nd day of May, 2017.


/s/____________________________________
   Nancy J. Whaley
   Standing Chapter 13 Trustee
   State Bar No. 377941
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201




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